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                                          IN THE
                               UNITED STATES DISTRICT COURT
                                         FOR THE
                               WESTERN DISTRICT OF VIRGINIA
                                    ABINGDON DIVISION


   UNITED STATES OF AMERICA                      :
                                                 :
   v.                                            :    Criminal No. 1:18CR00025
                                                 :
                                                 :
   ANDREA NICOLE STICKEL                         :



                                 MOTION TO FILE UNDER SEAL

          The United States of America moves this court for permission to file a Rule 35 Statement

   of Reasons under seal. The Rule 35 Statement of Reasons discusses the information supporting

   the government’s motion and the public disclosure of such information in writing may be

   detrimental to the safety of the defendant.



                                                      Respectfully submitted,

                                                      THOMAS T. CULLEN
                                                      United States Attorney


                                                      /s/ Zachary T. Lee
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on April 2, 2020, I caused the foregoing to be electronically filed

   with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

   to counsel for defendant.


                                                 /s/ Zachary T. Lee
                                                 Assistant United States Attorney
